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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:04CR432
                      Plaintiff,                    )
                                                    )
       vs.                                          )           REPORT AND
                                                    )
BRANDI DESANTIAGO,                                  )       RECOMMENDATION
                                                    )
                      Defendant.                    )


       On May 3, 2005, defendant Brandi DeSantiago (DeSantiago), together with her
counsel, A. Michael Bianchi, appeared before the undersigned magistrate judge and was
advised of the charges, the penalties and the right to appear before a United States District
Judge. After orally consenting to proceed before a magistrate judge, DeSantiago entered a
plea of guilty to Count I of the Superseding Indictment.
       After being sworn, DeSantiago was orally examined by the undersigned magistrate
judge in open court as required by Federal Rule of Criminal Procedure 11. DeSantiago also
was given the advice required by that Rule. Finally, DeSantiago was given a full opportunity
to address the court and ask questions.
       Counsel for the government and counsel for DeSantiago were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was a
factual basis for DeSantiago’s plea of guilty to Count I of the Superseding Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary;
(2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any other provisions
of the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by DeSantiago,
DeSantiago’s counsel and counsel for the government, and such petition was placed in the
court file; (5) the plea agreement is in writing and is filed in the court file; (6) there were no
other agreements or stipulations other than as contained in the written plea agreement.
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       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.      She accept the guilty plea and find the defendant, Brandi DeSantiago, guilty of
the crime set forth in Count I of the Superseding Indictment to which DeSantiago tendered a
guilty plea;
       2.      She not accept the written plea agreement at this time as it contains a provision
under Fed. R. Crim. P. 11(c)(1)(C), but rather she consider the agreement at the time of
sentencing.


                                        ADMONITION
       Pursuant to NELR 72.4 any objection to this Report and Recommendation shall be filed
with the Clerk of the Court within ten (10) days after being served with a copy of this Report
and Recommendation. Failure to timely object may constitute a waiver of any such objection.
The brief in support of any objection shall be filed at the time of filing such objection. Failure
to file a brief in support of any objection may be deemed an abandonment of the objection.
       DATED this 3rd day of May, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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